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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS



 In re

         RONEY LOUIS HARRIS,
                                                           Chapter 13
                        Debtor(s)
                                                           Case No 17-31042-CJP



                          MOTION OF CHAPTER 13 TRUSTEE
                         TO RECONVERT CASE TO CHAPTER 7


    Now comes Denise M. Pappalardo, the Chapter 13 trustee (the "Trustee"), and respectfully

moves that this Court reconvert this matter to a case under Chapter 7 of the United States

Bankruptcy Code (the "Code"). In support thereof, the Trustee states as follows:

     1. On December 13, 2017, the Debtor filed for relief under Chapter 7 of the United States

Bankruptcy Code, 11 U.S.C. §§ 101 et seq. as amended by the Bankruptcy Abuse Prevention and

Consumer Protection Act of 2005 (the "Act"). On April 13, 2018, the case was converted to a

Chapter 13.

    2. On June 20, 2018, the Trustee convened and presided at a § 341 meeting of creditors.

    3. The Debtor is in arrears according to the terms of the proposed plan totaling $264.00

representing 1.4 monthly payments. Pursuant to § 1326(a)(1) of the Code, the Debtor is to

commence plan payments within 30 days of the filing of the plan. Failure to do so is grounds for

reconverting the case to a Chapter 7 pursuant to 11 U.S.C. §1307( c)(4) of the Code.

    4. Pursuant to the Agreed Order dated June 21, 2018, the Debtor is required to provide the

Trustee with a copy of the declaration page of insurance for the White Street property by July 13,

2018, provide a copy of the 2017 income tax returns no later than October 19, 2018 and file a
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certification regarding taxes/domestic support obligations by October 19, 2018. To date, the

Debtor has failed to comply. Failure to do so is grounds for reconverting the Case to a Chapter 7

pursuant to 11 U.S.C. § 1307(c)(1) as it is an unreasonably delay which is prejudicial to creditors.

    WHEREFORE, the Trustee respectfully requests that this Court enter an Order converting

this case to a case under Chapter 7.

                                                  Respectfully submitted,
                                                  Standing Chapter 13 Trustee


Dated: \&\rd\j\\§                                 /s/Joanne Psilos I
                                                  Denise M. Pappalardo, Trustee
                                                  BBO # 553293
                                                  Joanne Psilos, Staff Attorney
                                                  BBO # 556997
                                                  P.O. Box 16607
                                                  Worcester, MA 01601
                                                  (508) 791-3300
                                                  denisepappalardo@chl 3worc.com
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS



 In re

          RONEY LOUIS HARRIS,
                                                         Chapter 13
                         Debtor(s)
                                                         Case No 17-31042-CJP



                                 CERTIFICATE OF SERVICE

         The undersigned certifies that a copy of the within was sent to the Debtor, Debtor's

counsel of record, and those parties who filed an appearance by first class mail, postage prepaid

and/or electronically.


Dated: lOtAc                                       /s/ Denise M. Pappalardo
                                                   Denise M. Pappalardo, BBO # 553293
                                                   Joanne Zoto Psilos, BBO # 556997
                                                   P.O. Box 16607
                                                   Worcester, MA 01601
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                                         SERVICE LIST

 Richard King                                      Roney Louis Harris - Pro-Se Debtor
 Asst. United States Trustee                       615 White Street
 446 Main Street                                   Springfield, MA 01108
 Worcester, MA 01608
 David W. Ostrander, Esq.                          See attached Exhibit "A "
 Chapter 7 Trustee
 P.O. Box 1237
 Northampton, MA 01061
                                                                   jr\




                Case 17-31042
Label Matrix for local noticing
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                                                 U.S. Bankruptcy Court Page 4 of 5  P.O. Box 10330
Case 17-31042                                     300 State Street, Suite 220          Fort Wayne, IN 46851-0330
District of Massachusetts                         Springfield, MA 01105-2925
Springfield
Wed Oct 24 16:02:10 EDT 2018
Altisource Solutions, Inc.                        Andrew Harmon, Esq.                  Assurant
1000 Abernathy Road, Ste. 200                     150 California Street                American Security Insurance Co.
Atlanta, GA 30328-5604                            Newton, MA 02458-1005                260 Interstate N. Circle, SE
                                                                                       Atlanta, GA 30339-2210


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107 SELDEN ST                                     P.O. Box 850                         2025 Roosevelt Avenue
BERLIN, CT 06037-1616                             Colorado Springs, CO 80901-0850      Springfield, MA 01104-1657



Columbia Gas of Massachusetts                     Connecticare, Inc                    Connecticut Light & Power dba Eversourc
P.O. 2025                                         30 Batterson Park Road               Eversource Legal Dept - Honor Heath
Springfield, MA 01102-2025                        Farmington, CT 06032-2545            107 Selden St
                                                                                       Berlin, CT 06037-1616


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Waltham, MA 02451-1255


Enterprise Rent-A-Car                             Eversource                           Executive Realty Solutions
600 Corporate Park Drive                          P.O. Box 650851                      1031 Cricket Lane
St, Louis, MO 63105-4211                          Dallas, TX 75265-0851                Woodbridge, NJ 07095-1586



Eye Disease Consultants, LLC                      Fremont Reorganizing Corporation     Government National Mortgage Corporation
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Windsor, CT 06095-0045                            Brea, CA 92821-6713                  Washington, DC 20410-0001



Guaetta S Benson, LLC                            HSBC Bank USA, National Association   HSBC Bank USA, National Association
29 Billerica Road                                452 Fifth Avenue                      c/o Ocwen Loan Servicing, LLC
Chelmsford, MA 01824                             New York, NY 10018-2706               Attn: Bankruptcy Department
                                                                                       PO Box 24605
                                                                                       West Palm Beach, FL 33416-4605

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50 State Street                                   150 California Street                P.O. Box 1799
Springfield, MA 01103-2002                        Newton, MA 02458-1005                Colorado Springs, CO 80901-1799



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               Case 17-31042            Doc 225 Mass.
                                                   Filed  10/25/18 Entered 10/25/18 10:23:49 Desc Main
Litton Loan Servicing, LP                             Dept. of Revenue               Mortgage Electronic Registration Systems, In
                                                Attn: Bankruptcy Unit Page 5 of 5
4828 Loop Central Drive
                                                     Document                        P.O. Box 2026
Houston, TX 77081-2166                            PO Box 9564                                  Flint, MI 48501-2026
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NSTAR ELECTRIC COMPANY DBA EVERSOURCE             Ocwen Loan Servicing, LLC                    PHH Mortgage Corporation
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                                                  Raleigh, NC 27612-8060


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Denise M. Pappalardo                             Patrick Butler                                Richard King
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